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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA


________________________________________
                                         )
HULLEY ENTERPRISES LTD.,                 )
YUKOS UNIVERSAL LTD., AND                )          Case No. 1:14-cv-01996-BAH
VETERAN PETROLEUM LTD.,                  )
                                         )
                        Petitioners,     )          Chief Judge Beryl A. Howell
                                         )
                  v.                     )
                                         )
THE RUSSIAN FEDERATION,                  )
                                         )
                        Respondent.      )
________________________________________ )



         STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT OF
            THE RUSSIAN FEDERATION’S MOTION TO EXTEND
                  THIS COURT’S STAY OF LITIGATION




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          The Russian Federation respectfully moves this Court to extend the stay of litigation

imposed by its Memorandum Opinion (the “Stay Ruling”) (ECF No. 154) and Minute Order of

October 10, 2019, until the final resolution of the ongoing proceedings before the Dutch

Supreme Court to set aside the arbitral awards in this case (the “Awards”).

          This Motion is supported by the declarations of Professor Albert Jan van den Berg (“Van

den Berg Decl.”), Mr. Rob Meijer (“Meijer Decl.”), and Sir Nicholas Forwood QC (“Forwood

Decl.”).

                                  PRELIMINARY STATEMENT

          As the Court is aware, three substantive Motions (ECF Nos. 23, 24, and 108)1 were

pending in 2016 and thus have been subject to the Stay Ruling. These Motions raise the Russian

Federation’s defenses to subject-matter jurisdiction under the Foreign Sovereign Immunities Act

(“FSIA”) and defenses against confirmation under the 1958 Convention on the Recognition and

Enforcement of Foreign Arbitral Awards (“New York Convention”).

          As illustrated in Table 1 below, these Motions raise many of the same issues that are

pending in the Dutch Supreme Court in Case No. 20/01595. See Pet. for Appeal in Cassation

(“Cassation Pet.”) (ECF No. 176-2); Van den Berg Decl. ¶¶ 7–8, 11; Meijer Decl. ¶¶ 23, 26.

                   Table 1 – Overlapping Issues in the Dutch and U.S. Litigation

                 Overlapping Issue                 Dutch Litigation           U.S. Litigation

    Whether the Russian Federation offered to      ECF No. 176-2, ¶¶   ECF No. 23, pp. 13;
    arbitrate under Articles 26 and 45(1) of the   11-96               ECF No. 24, pp. 28-34;
    Energy Charter Treaty (“ECT”)                                      ECF No. 108, pp. 12-22


1
  Resp’t Mot. Den., Oct. 20, 2015, ECF No. 23; Resp’t Mot. Dismiss Pet., Oct. 20, 2015, ECF
No. 24; Resp’t Suppl. Mot. Dismiss Pet., June 5, 2016, ECF No. 108. The parties acknowledge,
in principle, that lifting the stay would require re-submission of updated briefs in light of
developments since 2016. Joint Status Report, ECF No. 176.
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 Whether Petitioners were eligible offerees           ECF No. 176-2, ¶¶   ECF No. 23, pp. 13;
 under Articles 1(6), 1(7), and 26 of the ECT         97-141              ECF No. 24, pp. 34-36;
                                                                          ECF No. 108, pp. 23-33

 Whether Petitioners failed to accept any             ECF No. 176-2, ¶¶   ECF No. 23, pp. 39;
 purported offer of arbitration by violating          180-207             ECF No. 24, pp. 36-38
 mandatory preconditions set forth under
 Article 21 of the ECT

 Whether the Awards are invalid based upon            ECF No. 176-2, ¶¶   ECF No. 23, pp. 14-16;
 grave violations of due process during the           1-10                ECF No. 108, pp. 26-27
 arbitration, including Petitioners’ fraudulent
 withholding of documents and fraudulent
 statements to the arbitral tribunal

 Whether the arbitrators’ assessment of               ECF No. 176-2,      ECF No. 23, pp. 28-33
 damages is invalid and unenforceable                 ¶¶ 270-279

 Whether the Awards are invalid based upon            ECF No. 176-2, ¶¶   ECF No. 23, pp. 33-38
 the irregular composition of the arbitral            208-220
 tribunal

 Whether the Awards are invalid under public ECF No. 176-2, ¶¶            ECF No. 23, pp. 16-21;
 policy based upon Petitioners’ participation in 142-179                  ECF No. 24, pp. 31-34;
 bribery, fraud, and money laundering                                     ECF No. 108, pp. 33-39

       In summary, there is an extensive degree of overlap between the issues raised in the

Dutch litigation and the U.S. litigation—both of which involve Petitioners’ same claims against

the Russian Federation for more than US$ 50 billion. Van den Berg Decl. ¶¶ 7–8. Both the

Dutch litigation and the U.S. litigation raise complex legal questions pertaining to the

interpretation of the ECT (a multilateral treaty to which the United States is not a party), the

application of international law, Russian law, and transnational public policy, as well as complex

factual questions pertaining to Petitioners’ bribery, fraud, and money laundering. Van den Berg

Decl. ¶¶ 5, 12, 17; see also Meijer Decl. ¶ 27 (“[T]his case involves numerous legal issues that

are ‘unprecedented’ within the Dutch Supreme Court’s previous jurisprudence.”).




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       As explained in the Stay Ruling, however, if the Dutch courts rule in favor of the Russian

Federation on any of these grounds, then the Awards will be set aside and Petitioners will have

“‘no cause of action’” in the U.S. litigation. Stay Ruling 18–20 (“‘[An] arbitration award does

not exist to be enforced . . . if it has been lawfully ‘set aside’ by a competent authority in the

State in which the award was made.’” (quoting TermoRio S.A. E.S.P. v. Electranta S.P., 487 F.3d

928, 936 (D.C. Cir. 2007)); see also Cassation Petition ¶¶ 270-279 (“If the [Dutch Supreme

Court] sustains any of the ‘individual’ grievances . . . , the consequence is that the CoA’s

upholding of the Tribunal’s damages award [of US$ 50 billion] cannot stand anymore and will

be quashed as well.”).

       The Court thus should extend the Stay Ruling because all of the Court’s original reasons

for imposing the stay remain equally true and applicable today—and are even more

compelling—including with respect to the “legal viability” of Petitioners’ claims, the principle of

“international comity,” and the balance of the “relative hardships.” Stay Ruling 17–22. Indeed,

the balance of hardships today weighs even more heavily in favor of staying the U.S. litigation

based upon the extraordinary administrative and economic hardships imposed by the intervening

COVID-19 pandemic and public health crisis.

       As detailed further below, this case remains “a paradigm example of a case warranting a

stay [because] the legal viability” of the Awards will “rest on determinations in another legal

proceeding.” Stay Ruling 18 (emphasis added). Only the Dutch Supreme Court—where the

Awards are now under review—can “establish definitively whether the Awards stand or have

been set aside,” because only the Dutch judicial system possesses “primary jurisdiction” in this

case. Id. at 17–19, 27. This is not disputed between the parties. E.g., Letter of Aug. 2, 2005

(ECF No. 78-2) (recognizing the Netherlands to be the “legal seat” for the arbitration).




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       Significantly, the Dutch appellate court’s most recent ruling (the “2020 Dutch

Judgment”) (ECF No. 176-1) is not a final, unreviewable judgment within the Dutch legal

system. As detailed in the Russian Federation’s Cassation Petition, the 2020 Dutch Judgment is

based upon numerous legal errors, which remain subject to mandatory review by the Dutch

Supreme Court and anticipated referral to the European Union (“EU”) Court of Justice. Meijer

Decl. ¶¶ 6, 26; Forwood Decl. ¶ 18 (“[T]he Dutch Supreme Court is obliged to refer the

potentially dispositive questions of EU law pertaining to the interpretation of the ECT to the EU

Court of Justice for a preliminary ruling under Article 267 of the TFEU.”).2 Just as in 2016,

therefore, “in the absence of a stay, the parties will be required to litigate this action with

reference to the Dutch Judgment, which remains subject to reversal . . . and, depending on the

outcome of that appeal, could prompt additional rounds of briefing and review of the merits.”

Stay Ruling 22.

       Fundamentally, if the Stay Ruling is not extended and this Court proceeds toward

enforcement, the entire proceeding will be a waste of the Court’s and parties’ limited resources

(during a public health crisis) in the event that the Dutch Supreme Court and/or the EU Court of

Justice rules in favor of the Russian Federation. “More expensive litigation involving more

complex issues would result from such a situation.” Getma Int'l v. Republic of Guinea, 142 F.

Supp. 3d 110, 114 (D.D.C. 2015); see, e.g., Thai-Lao Lignite (Thail.) Co. v. Gov’t of the Lao

People’s Democratic Republic, 864 F.3d 172, 189 (2d Cir. 2017) (upholding vacatur of a

judgment enforcing a Malaysian arbitral award, which had been set aside by Malaysian courts

after the U.S. enforcement, under Rule 60(b)(5) of the Federal Rules of Civil Procedure). Any

2
  Forwood Declaration, Annex B (“Proposed List of Questions for Referral by the Supreme
Court of the Netherlands to the Court of Justice of the European Union for a Preliminary Ruling
under Article 267 of the Treaty on the Functioning of the European Union”).



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amounts paid to Petitioners or property seized by Petitioners would then be subject to restitution,

which would lead to even further litigation and further burden the Court’s and parties’ limited

resources. Such a prospect would pose “a grave risk” of substantial harm to the Russian

Federation (as well as to third parties) because Petitioners are merely shell companies with no

assets or funds of their own, and thus cannot provide “any guaranty of restitution.” Van den

Berg Decl. ¶ 32 (quoting the Paris Court’s 2015 ruling).

       The unnecessary burden on the Court and on the parties would only be exacerbated, in

the present circumstances, due to the seriousness of the COVID-19 pandemic both in the District

of Columbia and in the Russian Federation. Unión Fenosa Gas, S.A. v. Arab Republic of Egypt,

No. 18-2395, 2020 U.S. Dist. LEXIS 98645, at *14–15 (D.D.C. June 4, 2020) (staying

proceedings to enforce an arbitral award worth US$ 2 billion in light of “uncertainties regarding

an unprecedented global pandemic”).       Both jurisdictions will be dealing with the resulting

administrative and economic burdens for years to come. With respect to “the overall number of

COVID-19 cases” worldwide, the United States and the Russian Federation were recently

reported as having the “first” and “third” highest total number of cases. See Russia is in 7th

place as to COVID-19 pandemic intensity, TASS Russian News Agency (June 10, 2020),

https://tass.com/world/1166507; see also Standing Order No. 20-29, May 26, 2020 (Howell,

C.J.) (describing “the seriousness of the pandemic in this region as of this date” based on order

of the Mayor of the District of Columbia).

       Fundamentally, as courts in this Circuit have repeatedly emphasized, “‘litigating

essentially the same issues in two separate forums is not in the interest of judicial economy or in

the parties’ best interests.’” E.g., Masdar Solar & Wind Coop. U.A. v. Kingdom of Spain, 397 F.

Supp. 3d 34, 40 (D.D.C. 2019) (quoting Naegele v. Albers, 355 F. Supp. 2d 129, 141 (D.D.C.




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2005)); IBT/HERE Empl. Reps.’ Council v. Gate Gourmet Div. Ams., 402 F. Supp. 2d 289, 293

(D.D.C. 2005) (same). Moreover, the “central precept of comity” requires this Court to give

effect to the final decision of the Dutch courts in Case No. 20/01595, which cannot be done until

after that final decision has actually been issued. See Laker Airways Ltd. v. Sabena, Belgian

World Airlines, 731 F.2d 909, 937 (D.C. Cir. 1984); see also Novenergia II-Energy & Env’t

(SCA) v. Kingdom of Spain, No. 18-cv-01148, 2020 U.S. Dist. LEXIS 12794, at *14–15 (D.D.C.

Jan. 27, 2020) (agreeing “that international comity requires a stay because the issues [of the

ECT’s interpretation] are important to the European Union and should be resolved within the

Union’s judicial system”).

       As detailed further below, therefore, this Court’s Stay Ruling should be maintained until

the Dutch judicial system’s final resolution of Case No. 20/01595.

                                       BACKGROUND

       In 2016, as the Court is aware, the Dutch district court set aside (or “annulled”) the

Awards on the basis that the Russian Federation had never offered to arbitrate with Petitioners

under Articles 26 and 45(1) of the Energy Charter Treaty (“ECT”). Stay Ruling 6. Because this

conclusion entailed the annulment of the Awards in their entirety, the Dutch district court never

addressed the Russian Federation’s alternative defenses. Van den Berg Decl. ¶ 20. Those

alternative defenses are summarized above in Table 1, and are further detailed in the Russian

Federation’s Cassation Petition (ECF No. 176-2) and substantive Motions (ECF Nos. 23, 24,

108) pending before this Court.

       Immediately after the Dutch district court annulled the Awards, Petitioners appealed the

Dutch district court’s decision (the “2016 Dutch Judgment”) (ECF No. 117-10) and moved to

stay their parallel U.S. lawsuit. Stay Ruling 1, 7. As Petitioners argued at the time, it would be

an “unnecessary waste of judicial and party resources” and contrary to “international comity,”


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for this Court to “issue a decision that ends up being inconsistent with the ultimate treatment of

the Awards by the Dutch courts.” Pet’rs’ Mot. 1, 16 (ECF No. 105-1). The Russian Federation

opposed the stay based upon its view that the Court had to first determine its subject-matter

jurisdiction under the FSIA and due to, among other considerations, the inevitable length of the

Dutch proceedings. Resp.’s Opp’n 1 & n.3 (ECF No. 127). The parties both acknowledged that

“no final decision that is no longer subject to appeal” in the Dutch courts would likely “be made

before six to nine years.” Resp.’s Opp’n 1 & n.3 (quoting Pet’rs’ Br. to the Belgian court, ECF

No. 117-4). The Court declined to determine subject-matter jurisdiction until it reached the

merits and, after balancing the relevant considerations in the exercise of its inherent power,

ordered a stay of the U.S. litigation. Stay Ruling 14, 27.

       As the Court explained, the Stay Ruling was necessary because, if the Russian Federation

ultimately prevails in the Dutch proceedings, then Petitioners will have “‘no cause of action’” in

the U.S. litigation. Stay Ruling 18–20 (“‘[An] arbitration award does not exist to be enforced . . .

if it has been lawfully ‘set aside’ by a competent authority in the State in which the award was

made.’” (quoting TermoRio, 487 F.3d at 936). The Court further concluded that “international

comity and the avoidance of conflicting judgments” weigh in favor of staying the U.S. litigation

until the resolution of the Dutch proceedings. Stay Ruling 21–22. Finally, the Court noted the

hardships that necessarily result from litigating in reference to a moving target. “[I]n the absence

of a stay, the parties will be required to litigate this action with reference to the Dutch Judgment,

which remains subject to reversal . . . and, depending on the outcome of that appeal, could

prompt additional rounds of briefing and review of the merits.” Id. at 22. The Court thus stayed

the U.S. litigation to await the “outcome of the Dutch proceedings.” Id. at 18.




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       That “outcome,” however, is still unknown in 2020 because the Dutch proceedings

remain ongoing. On February 18, 2020, the Dutch appellate court reversed the decision of the

Dutch district court. Joint Status Report (ECF No. 176). The Russian Federation has submitted

a timely “appeal in cassation” to the Dutch Supreme Court. Meijer Decl. ¶ 23. The Dutch

Supreme Court has already established a briefing schedule and requested the Advocate General

to make an initial submission in this proceeding (Case No. 20/01595) on June 19, 2020. Meijer

Decl. ¶ 24. Petitioners are obligated to make a first administrative appearance on June 26, 2020,

and the parties’ next round of pleadings will likely be submitted to the Dutch Supreme Court in

October 2020. Meijer Decl. ¶ 24. The proceeding is expected to conclude in approximately

2022—i.e., within “six to nine years,” as originally predicted in 2016. Resp.’s Opp’n 1 & n.3

(ECF No. 127) (quoting Pet’rs’ Br. to the Belgian court, ECF No. 117-4).

       The 2020 Dutch Judgment therefore remains “subject to reversal,” just as was the 2016

Dutch Judgment. Stay Ruling 19, 22. The Dutch Supreme Court may “review . . . questions of

law,” as Petitioners’ Dutch counsel has acknowledged. Leijten Decl. 4 ¶ 15 (ECF No. 105-2).

The Dutch Supreme Court shows no deference to the lower courts on questions of law. Meijer

Decl. ¶¶ 10, 29. The EU Court of Justice likewise will not show any deference regarding the

interpretation of Articles 1(6), 1(7), 21, 26, or 45(1) of the ECT, or on the interpretation of the

EU public policy against illegal bribery, collusion, and money laundering. Forwood Decl. ¶ 9. It

is significant, moreover, that this case involves numerous issues of first impression arising under

the ECT and EU public policy, which the Dutch Supreme Court and the EU Court of Justice

have never examined previously. It is also significant that, on the central question of whether

the Russian Federation offered to arbitrate under Articles 26 and 45(1) of the ECT, the three

adjudicative bodies in this case—the arbitrators, the Dutch district court, and the Dutch appellate




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court—have come to three completely different conclusions. Van den Berg Decl. ¶ 41. The

final answer for purposes of the Dutch legal system, therefore, can only be determined by the

Dutch Supreme Court after seeking, if relevant and potentially dispositive, a preliminary ruling

from the EU Court of Justice.

       Inexplicably, however, with Case No. 20/01595 already in progress in the Dutch

Supreme Court and the final outcome unknown, Petitioners are now prematurely urging this

Court to ignore its previous holding and rationale. As reflected in the Joint Status Report (ECF

No. 176), Petitioners seek to restart the U.S. litigation based upon the 2020 Dutch Judgment—

i.e., yet another interim decision that remains “subject to reversal.” Stay Ruling 19, 22.

       Petitioners evidently want to seize any benefit they can from a favorable—but non-final

and potentially short-lived—interim ruling by the Dutch appellate court. They are thus asking

this Court to terminate the stay (which Petitioners themselves had originally requested) and

resume this litigation in parallel with the ongoing Dutch proceedings. Joint Status Report (ECF

No. 176). This would be the type of “‘fractured and disorderly’ and unnecessary litigation”

already rejected by this Court. Stay Ruling 21–22 (quoting Seneca Nation of Indians v. U.S.

Dep’t of Health & Human Servs., 144 F. Supp. 3d 115, 119 (D.D.C. 2015)).

                                          ARGUMENT

       The Court’s consideration of whether to stay litigation results from “the power inherent

in every court to control the disposition of the cases on its docket with economy of time and

effort.” Stay Ruling 7 (quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)); Novenergia II,

2020 U.S. Dist. LEXIS 12794, at *5. Further, under Article VI of the New York Convention, the

Court may consider “the interests reflected in the Europcar factors” as “instructive.” Stay

Ruling 24–25 (analyzing Europcar Italia, S.P.A. v. Maiellano Tours, 156 F.3d 310, 317 (2d Cir.

1998)). Under either of these standards, the grounds for staying this U.S. litigation, now the law


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of the case, are fundamentally unchanged from the Court’s prior Stay Ruling. The stay of this

litigation therefore should remain in place.

       The Original Reasons for the Stay Ruling Remain True and Are Even More
       Compelling Today

               As the Court Already Held, a Stay Is Needed to Avoid Unnecessary and
               Disorderly Parallel Litigation

       As this Court repeatedly has explained, “‘litigating essentially the same issues in two

separate forums is not in the interest of judicial economy or in the parties’ best interests.’”

Unión Fenosa Gas, 2020 U.S. Dist. LEXIS 98645, at *12 (quoting Novenergia II, 2020 U.S.

Dist. LEXIS 12794, at *7); Masdar Solar, 397 F. Supp. 3d at 40 (same); Naegele, 355 F. Supp.

2d at 141 (same); IBT/HERE Empl. Reps.’ Council, 402 F. Supp. 2d at 293(same); Nat’l

Shopmen Pension Fund v. Folger Adam Sec., Inc., 274 B.R. 1, 3 (D.D.C. 2002) (same); see also

InterDigital Comms., Inc. v. Huawei Invest. & Holding Co., 166 F. Supp. 3d 463, 471 (S.D.N.Y.

2016) (staying litigation under the New York Convention in order to avoid “duplication and

delay” while set-aside litigation was already pending in the primary jurisdiction).

       This basic principle is even more compelling “where the legal viability of claims may rest

on determinations in another legal proceeding,” such as where the foreign court with “primary

jurisdiction” is considering whether to set aside the same arbitral awards submitted to this Court

for enforcement. Stay Ruling at 18. The Stay Ruling therefore should be extended in order to

prevent the type of “‘fractured and disorderly’ and unnecessary litigation” attempted by

Petitioners from 2015 to 2017, and to “preserve judicial and parties’ resources.” Stay Ruling 21–

22 (quoting Seneca Nation of Indians, 144 F. Supp. 3d at 119). Most fundamentally the parties

agreed to the Hague as the situs of the arbitration giving the Courts in the Netherlands the

primary jurisdiction. E.g., Letter of Aug. 2, 2005 (ECF No. 78-2) (recognizing the Netherlands

to be the “legal seat” for the arbitration). In light of the extensive overlap of issues between the


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Dutch litigation and the U.S. litigation (as illustrated above in Table 1), litigating this parallel

U.S. lawsuit while Case No. 20/01595 is still ongoing before the Dutch Supreme Court would be

inefficient and wasteful from three different perspectives.

        First, as the Stay Ruling emphasized, “[t]his is a paradigm example of a case warranting a

stay where the legal viability of claims may rest on determinations in another legal proceeding”

in the Dutch courts. Stay Ruling 18. The basis for this sound conclusion is Article V(1)(e) of

the New York Convention, which states as follows:

        Recognition and enforcement of [an] award may be refused, at the request of the
        party against whom it is invoked . . . if . . . [t]he award . . . has been set aside . . .
        by a competent authority of the country in which, or under the law of which, that
        award was made.

Interpreting this provision of the New York Convention, the D.C. Circuit provided the following

explanation in TermoRio, 487 F.3d at 935–36:

        Pursuant to [Article V(1)(e)] of the Convention, a secondary Contracting State
        normally may not enforce an arbitration award that has been lawfully set aside by
        a “competent authority” in the primary Contracting State. . . .

        [A]n arbitration award does not exist to be enforced in other Contracting States if
        it has been lawfully “set aside” by a competent authority in the State in which the
        award was made.

TermoRio, 487 F.3d at 935–36 (emphasis added).

        Accordingly, if the Russian Federation is ultimately successful before the Dutch Supreme

Court in Case No. 20/01595, including after a potential referral to the EU Court of Justice for a

preliminary ruling on issues of EU law, then the Awards thereafter will “not exist to be

enforced” in the United States.        Id.   In other words, as this Court previously observed,

“depending on the outcome of the Dutch proceedings, the Shareholders may have ‘no cause of

action’” whatsoever in the United States. Stay Ruling 17–18 (quoting TermoRio, 487 F.3d at

930).    In those circumstances, this Court would not be obligated to address any of the



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overlapping issues summarized above in Table 1, because the case would be decided on the

straightforward basis of Article V(1)(e) of the New York Convention. Stay Ruling 17–18.

        For the moment, however, the ultimate “outcome of the Dutch proceedings” is unknown

and uncertain.      The 2020 Dutch Judgment relies upon multiple unprecedented legal

conclusions—all of which are subject to mandatory de novo review by the Dutch Supreme Court.

Meijer Decl. ¶¶ 6, 10, 29; Van den Berg Decl. ¶¶ 40–45. Sir Nicholas Forwood also explains

that many of the questions fall within the jurisdiction of the EU Court of Justice, and thus

provide the basis for a preliminary ruling under the treaties governing the EU’s integrated justice

system. Forwood Decl. ¶¶ 9, 13–14, 21–23. Much like the Dutch Supreme Court, the EU Court

of Justice also will approach these questions de novo, and will not show any deference to

national courts on the interpretation of the ECT or on questions of EU public policy. Forwood

Decl. ¶ 9. Accordingly, the Awards can yet be annulled in the Dutch judicial system based upon

the many different potential grounds identified above in Table 1 and in the Cassation Petition.

        The original reasoning of the Stay Ruling thus necessitates awaiting the Dutch Supreme

Court’s decision in Case No. 20/01595. See also Stati v. Republic of Kaz., 199 F. Supp. 3d 179,

193 (D.D.C. 2016) (“[T]he possibility that the pending set-aside proceeding could have a

dramatic impact on the petition to confirm the arbitration award [justifies this Court’s] exercise

of its discretion . . . [to] stay this confirmation proceeding.”).

        Second, and relatedly, “[s]hould the Court proceed and place any reliance on” the 2020

Dutch Judgment, then “any decision issued would be undercut if that Judgment is reversed on

[cassation] in the Netherlands” by the Dutch Supreme Court. Stay Ruling 21. Indeed, “[t]his

change in circumstances would likely prompt the parties to seek reconsideration and, if this case

were on appeal, would likely result in remand to this Court for further consideration.” Id.




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       This possibility (i.e., set aside after enforcement) is not merely a hypothetical problem.

Indeed, this is exactly what occurred during the seven-year history of Thai-Lao Lignite, 864 F.3d

at 189. In 2010, the petitioners in that case requested that the U.S. district court recognize a

Malaysian arbitration award under the New York Convention. Id. at 175–76, 178. The U.S.

district court issued a judgment granting the recognition in 2011, which was upheld by the

Second Circuit in 2012. Id. at 179. Five months later, a Malaysian first-instance court rendered

a judgment setting aside the arbitral award under Malaysian law. Id. at 180. The Malaysian

appellate court subsequently affirmed the first-instance judgment in early 2014. Id. This change

in circumstances then obligated the U.S. district court to vacate its prior judgment recognizing

the Malaysian arbitral award under Rule 60(b)(5) of the Federal Rules of Civil Procedure. Id. at

180–81. The Second Circuit finally affirmed, although not until after the Thai-Lao Lignite

proceeding had regrettably wasted the U.S. courts’ time and resources for seven years. Id. at

191.

       This Court’s decision in the Stay Ruling sought (presciently) to avoid the type of

cautionary tale reflected in the Thai-Lao Lignite litigation. Stay Ruling 20–21 (noting that the

Second Circuit had remanded a case after the courts of the primary jurisdiction annulled an

arbitral award while the U.S. appeal was still pending in Corporación Mexicana de

Mantenimiento Integral. S. de R.L. de C.V. v. Pemex Exploración y Producción, No. 10-4656-cv,

2012 U.S. App. LEXIS 27054, at *1 (2d Cir. Feb. 16, 2012)).

       Indeed, this Court and other U.S. district courts have routinely followed this same

prudent approach. See Getma Int'l, 142 F. Supp. 3d at 114 (“Although a stay would immediately

delay the resolution of the parties’ dispute, it would still ‘likely [be] shorter than the possible

delay that would occur if this [C]ourt were to confirm the award and the [court of the primary




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jurisdiction were to] . . . then set it aside.’ . . . ‘More expensive litigation involving more

complex issues would result from such a situation.’” (quoting Jorf Lasfar Energy Co., S.C.A. v.

AMCI Exp. Corp., No. 05-CV-0423, 2005 U.S. Dist. LEXIS 34969, at *8 (W.D. Pa. Dec. 22,

2005))); Unión Fenosa Gas, 2020 U.S. Dist. LEXIS 98645, at *9–10 (same); Novenergia II,

2020 U.S. Dist. LEXIS 12794, at *10 (same); Masdar Solar, 397 F. Supp. 3d at 39 (same). Cf.

Gretton Ltd. v. Republic of Uzb., No.18-1755, 2019 U.S. Dist. LEXIS 18990, at *11 (D.D.C.

Feb. 6, 2019) (“If the Court were to side with [one of the parties] now and then [the other party]

were to win on appeal in [the primary jurisdiction], [the parties] could well be back in a U.S.

court . . . litigating some of the issues raised in this case all over again. That is hardly the kind of

efficient dispute resolution that arbitration is meant to serve.”); Alto Mar Girassol v.

Lumbermens Mut. Cas. Co., No. 04-CV-7731, 2005 U.S. Dist. LEXIS 7479, at *11–12 (N.D. Ill.

Apr. 12, 2005) (“[T]his delay is likely shorter than the possible delay that would occur if this

Court confirms the award and the . . . [foreign] court ultimately sets the award aside resulting in

further litigation likely involving more complex issues. Waiting for the . . . [foreign] court to rule

will also likely aid in the avoidance of more expensive additional litigation that could arise.”).

        Third, and finally, by seeking to revive the instant proceeding before the Dutch litigation

has reached a final outcome, Petitioners apparently are resuming their fractured and disorderly

approach to New York Convention litigation. This ultimately does not serve the interests of the

parties or the courts in any jurisdiction.

        After the arbitrators issued the Awards in 2014, Petitioners commenced an aggressive

strategy to seize the property of the Russian Federation—and the property of numerous third

parties—all over the world. Van den Berg Decl. ¶¶ 21, 30. According to their own estimate,

Petitioners attached more than US$ 1 billion in property. Id. ¶ 22. This included countless items




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of real property, receivables, funds, and securities relating to diplomatic, religious, cultural, and

scientific activities, including a significant number of assets that were ultimately adjudged to

belong to third parties. Id. ¶¶ 22–24, 28. As a result, Petitioners’ enforcement measures led to

(at least) seventy-five separate judicial proceedings before dozens of different courts in Belgium,

France, Germany, India, the United Kingdom, and the United States. Id. ¶¶ 21, 27. This was

ultimately a tremendous burden on the courts of these jurisdictions, as well as a significant waste

of the parties’ resources.    Van den Berg Decl. ¶ 30.         In the final stages of Petitioners’

enforcement proceedings, the courts of Belgium, France, and Germany all awarded costs to the

Russian Federation and the other third parties who had been impacted adversely by Petitioners’

aggressive enforcement strategy, although this amount was far below the actual litigation costs.

Van den Berg Decl. ¶ 30.

       As a result of Petitioners’ tactics, countless attachments needed to be litigated

individually—even though every single one of Petitioners’ attachment proceedings was

ultimately unsuccessful. Van den Berg Decl. ¶ 27. Eventually, each of Petitioners’ attachments

was withdrawn, stayed, or abandoned in the aftermath of 2016 Dutch Judgment or the Paris

Court’s proposal to refer this case to the EU Court of Justice. Van den Berg Decl. ¶¶ 28, 34.

Indeed, as explained above, based on Petitioners’ status as an offshore shell company, permitting

Petitioners to pursue seizures of property—in the absence of any final, unreviewable ruling from

the Dutch Supreme Court—poses a “grave risk” to the Russian Federation and third parties. Van

den Berg Decl. ¶ 32. This is precisely what the Paris Court of Appeal concluded in 2015, when

it held that Petitioners’ attachments of property lacked any “guaranty of restitution.” Van den

Berg Decl. ¶ 32 (quoting the Paris Court’s 2015 ruling). This risk is exacerbated by Petitioners’

history of participating in the Russian Oligarchs’ money-laundering activities. Not only were




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Petitioners created by known money-launderers (Valmet Group and Curtis & Co), Petitioners

have routinely been used to conceal the Russian Oligarchs’ illegal activities and de facto control

over the YUKOS shares.       Indeed, Petitioners do not dispute that the Russian Oligarchs remain

Petitioners’ ultimate beneficial owners and thus will receive more than 99% (and likely the full

100%) of any payments made to Petitioners. Hulley Enters. Ltd. v. The Russian Federation,

UNCITRAL, PCA Case No. AA 226, Transcript of Day 7 of Merits Hearing at 206:24-207:2

(Oct. 18, 2012), ECF No. 76-23; Hulley Enters. Ltd. v. The Russian Federation, UNCITRAL,

PCA Case No. AA 226, Statement of Vladimir Dubov ¶ 8 (Sept. 15, 2010), ECF No. 74-4..

       In light of the sound concerns expressed in the Stay Ruling regarding the need to avoid

“unnecessary litigation” and “preserve judicial and parties’ resources,” Petitioners’ approach to

litigation under the New York Convention is inappropriate and should not be facilitated by this

Court’s resumption of parallel U.S. proceedings. Stay Ruling 22. As this Court held originally,

therefore, this aspect of the Landis analysis weighs heavily in favor of extending the stay.

               As the Court Already Held, a Stay Is Needed to Show Due Respect for
               International Comity

       The Stay Ruling was also premised on the need to “consider interests in international

comity and the avoidance of conflicting judgments.” Stay Ruling 21. As the D.C. Circuit

explained in Laker Airways Ltd.:

       [T]he central precept of comity teaches that, when possible, the decisions of
       foreign tribunals should be given effect in domestic courts, since recognition
       fosters international cooperation and encourages reciprocity, thereby promoting
       predictability and stability through satisfaction of mutual expectations.

731 F.2d at 937.

       Here, Petitioners are asking this Court to decide whether the Russian Federation agreed to

arbitrate with Petitioners under Article 26 of the ECT, which is one of the same issues now

before the Dutch Supreme Court in Case No. 20/01595. To date, the Dutch district court and the


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Dutch appellate court have given diametrically opposing answers to this question. Van den Berg

Decl. ¶¶ 19, 39. Within the Dutch judicial system, the final answer can only come from the

Dutch Supreme Court and, depending on the basis for its disposition, pursuant to further

guidance from the EU Court of Justice. Meijer Decl. ¶¶ 10, 25, 28–30; Forwood Decl. ¶¶ 5–9. It

thus would be contrary to the precept of international comity for this Court to “wade into this

territory unnecessarily.” Masdar Solar, 397 F. Supp. 3d at 40. Maintaining the stay would avoid

such conflict.

       As this Court explained in Novenergia II, the interpretation of the ECT is specifically an

issue “of importance to the EU and better suited for initial review in their courts.” Novenergia

II, 2020 U.S. Dist. LEXIS 12794, at *12. For its part, the United States is not even a signatory to

the ECT—whereas the Netherlands and the EU have been ECT Contracting Parties since 1994,

as have nearly all EU Member States. Forwood Decl. ¶¶ 10–13.

       Indeed, “as a matter of legal, political and economic history, the European Union was the

determining actor in the creation of the ECT.” Forwood Decl. ¶¶ 11–12 & n.11 (quoting

Electrabel v. Hungary, Award, paras. 4.131–4.132). In an amicus curiae submission to another

court in this Circuit in the Novenergia case, the European Commission itself explained as

follows:

       [T]he ECT was essentially the brainchild of the EU. The ECT was concluded on
       the initiative of the EU, based on the European Energy Charter prepared by the
       EU, at an energy conference convened and funded by the EU. . . . The ECT was
       thus an instrument of the EU’s external energy policy, in which the EU and its
       Member States acted as a single block. . . . The ECT was signed by the EU as
       well as its Member States . . . .

Forwood Decl. ¶ 12 (quoting Novenergia II – Energy & Env’t (SCA) v. The Kingdom of
Spain, No. 1:18-cv-1148 (D.D.C.), Br. of the Eur. Comm’n as Amicus Curiae (Feb. 28,
2019), ECF No. 30-1 at 6-7).

And, in a 2004 article, Professor Thomas Wälde confirmed this understanding:



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       The ECT is largely a product of EU external political, economic and energy
       policy. It is meant to integrate the formerly Communist countries, provides an
       ante-chamber and preparation area for EU accession for many of them; it is
       intended to promote EU investment in these countries and energy flows from
       these countries to the EU. It is therefore linked more closely to EU integration,
       accession to the EU and EU external relations law than the ‘run-of the mill’
       [treaty concerning foreign investment].

Forwood Decl. ¶ 12 (quoting Thomas W. Wälde, Arbitration in the Oil, Gas and Energy
Field: Emerging Energy Charter Treaty Practice (2004) 2 Transnat’l Disp. Mgmt. 1, 4
(2004).).

       Finally, the ECT’s importance for the EU’s “political, economic, and energy policy” is

further confirmed by the 2017 and 2019 decisions of the Paris Court of Appeal (including in

litigation between Petitioners and the Russian Federation) to refer aspects of interpreting the

ECT’s Article 26 to the EU Court of Justice for a preliminary ruling. Forwood Decl. ¶¶ 12, 16–

17 & n.27 (“The questions proposed by the Paris Court of Appeal in 2017 also concerned

Articles 1(6), 1(7), 21, 26, and 45(1) of the ECT . . . . More recently, in late 2019, the Paris

Court of Appeal did refer questions pertaining to the interpretation of the ECT under Article 267

TFEU for a preliminary ruling . . . .”); Van den Berg Decl. ¶¶ 33–34.

       Based on the ECT’s importance for the EU’s energy policy, this Court explicitly held in

Novenergia II that “the more prudent course of action is to allow courts within the EU to first

decide the issues” of the ECT’s interpretation. Novenergia II, 2020 U.S. Dist. LEXIS 12794, at

*12, 14–15 (agreeing with Spain’s argument “that international comity requires a stay because

the issues [of the ECT’s interpretation] are important to the European Union and should be

resolved within the Union’s judicial system”). Here, that interest will plainly be upheld if the

stay is maintained while the Dutch Supreme Court refers Case No. 20/01595 to the EU Court of

Justice for a preliminary ruling.

       Indeed, U.S. district courts routinely apply this same approach to international comity.

Specifically, if the primary jurisdiction’s courts are faced with deciding questions of their own


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law, international comity militates against U.S. courts’ premature intervening in the same

question during litigation under the New York Convention.                CPConstruction Pioneers

Baugesellschaft Anstalt v. Gov't of Republic of Ghana, 578 F. Supp. 2d 50, 54 (D.D.C. 2008)

(staying litigation under the New York Convention because “it would have to decide an intricate

point of Ghana law that is more properly decided by a Ghana court”), amended by 578 F. Supp.

2d 48, 49 (D.D.C. 2008); Consorcio Rive S.A. de C.V. v. Briggs of Cancun, Inc., No. 99-CV-

2204, 2000 U.S. Dist. LEXIS 899, at *10 (E.D. La. Jan. 25, 2000) (“The Mexican action to

nullify the award involves issues of Mexican law, which the Mexican courts are better situated

than this Court to resolve. This action should be stayed pending the outcome of the Mexican

proceedings.”); Caribbean Trading & Fid. Corp. v. Nigerian Nat'l Petroleum Corp., No. 90-CV-

4169(JFK), 1990 U.S. Dist. LEXIS 17198, at *20–21 (S.D.N.Y. Dec. 18, 1990) (staying

potential confirmation and enforcement of arbitral award because "[t]he contract is governed by

the law of Nigeria, and the Nigerian courts are better equipped than this Court to determine the

proper application of that law”); Fertilizer Corp. of India v. IDI Mgmt., Inc., 517 F. Supp. 948,

962 (S.D. Ohio 1981) (“[I]n order to avoid the possibility of an inconsistent result, this Court has

determined to adjourn its decision on enforcement of the . . . [a]ward until the Indian courts

decide with finality whether the award is correct under Indian law.”).

       Accordingly, because the United States is not a Contracting Party to the ECT, whereas

both the Netherlands and the European Union are Contracting Parties, it is undeniable that

comity considerations support granting a stay until the Dutch Supreme Court has rendered the

final decision in Case No. 20/01595 with guidance from the EU Court of Justice. See Gretton

Ltd., 2019 U.S. Dist. LEXIS 18990, at *15.




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               As the Court Already Held, a Stay Is Needed Based Upon the Balance of
               Hardships to the Parties

       Finally, the Court also premised its Stay Ruling on a balancing of “the relative hardships”

to the parties and to the Court itself. Stay Ruling 22 (citing Landis, 299 U.S. at 254).

       First, the Russian Federation would be heavily burdened if unjustifiably compelled to

pay more than US$ 50 billion—the largest amount ever awarded by any arbitral tribunal in

history.   Van den Berg Decl. ¶ 13. A set aside under any of the multiple grounds (e.g.,

Grievances 1 through 7) asserted would eliminate the Russian Federation’s liability for any

damages. Cassation Petition ¶¶ 270-279 (“If the [Dutch Supreme Court] sustains any of the

‘individual’ grievances . . . , the consequence is that the CoA’s upholding of the Tribunal’s

damages award [of US$ 50 billion] cannot stand anymore and will be quashed as well.”). In the

present case, the sheer “enormity of the award” weighs profoundly in favor of a stay. Unión

Fenosa Gas, 2020 U.S. Dist. LEXIS 98645, at *12–13 (concluding, with respect to an award of

only US$ 2 billion, that “[t]he Court is loath to plunge so deeply into a sovereign’s treasury . . . if

there is a chance that the award might be set aside or mitigated to some extent”).

       In this regard, courts in this Circuit also repeatedly have emphasized the danger resulting

from potential seizures of a foreign State’s assets during any potential execution phase. Getma,

142 F. Supp. 3d at 118 (“The Court finds that ‘there would be very real harm to [the foreign

sovereign State] were [this Court] to confirm the award, [the petitioners] were take action to

execute on the judgment, and the . . . [the primary jurisdiction’s] court were to later determine

that the award was improper.’” (quoting Jorf, 2005 U.S. Dist. LEXIS 34969, at *10));

Novenergia II, 2020 U.S. Dist. LEXIS 12794, at *10 (“[T]he risk of premature enforcement

could result in Spain trying to recover assets seized during this action if it were to prevail in the

[primary jurisdiction].”); Masdar Solar, 397 F. Supp. 3d at 40 (noting the hardship to a foreign



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State arising from “ultimately having to recover assets seized during this action should the

annulment proceeding go its way”).

       Indeed, any attempts to recover assets seized by Petitioners during the subsequent

potential execution phase would face an additional problem. As explained by the Paris Court of

Appeal in 2015, the fact that Petitioners are offshore shell companies with no assets or genuine

business activities creates a “grave risk” of injury to the Russian Federation or third-party entities

whose assets may be attached in satisfaction of the Awards in the absence of any “guaranty of

restitution.” Van den Berg Decl. ¶ 32 (quoting 2015 Paris ruling). As this Court is aware,

Petitioners are three offshore shell companies based in Cyprus and the Isle of Man. Petitioners

admit that they do “not engage in any substantial business activity in [their] place[s] of

organization (or elsewhere) other than the holding of investments in other entities.” Letter of

Nov. 3, 2006, ECF No. 48-19. Petitioners’ documented history of participating in the Russian

Oligarchs’ money-laundering activities and other deceptive schemes thus creates even further

risks to those affected by seizures of assets.

       Second, the hardship considered most extensively in the Stay Ruling is completely

unchanged:

       [I]n the absence of a stay, the parties will be required to litigate this action with
       reference to the Dutch Judgment, which remains subject to reversal . . . and,
       depending on the outcome of that appeal, could prompt additional rounds of
       briefing and review of the merits.

Stay Ruling at 22.

       As explained above, there is a likelihood that either the Dutch Supreme Court or the EU

Court of Justice will agree with the Dutch district court (rather than with the Dutch appellate

court). Meijer Decl. ¶¶ 29–30; Forwood Decl. ¶¶ 18, 23. The Dutch Supreme Court might also

reverse the 2020 Judgment on another basis. Meijer Decl. ¶¶ 26, 30. Analyzing, briefing, or



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ultimately placing any reliance on this moving target would create an unnecessary hardship for

the Court and both parties. As this Court previously ruled, that hardship cannot be eliminated

unless this parallel U.S. lawsuit is stayed. Stay Ruling at 22. Indeed, the final outcome of this

dispute remains uncertain in the Netherlands, particularly in light of the three conflicting

decisions rendered so far in the arbitration and the Dutch proceedings, as well as the

confirmation by the Paris Court of Appeal that this case raises numerous questions of law that

may be referred to the EU Court of Justice. Van den Berg Decl. ¶¶ 33, 41.

       For these reasons, courts have noted that a foreign sovereign State would “undeniably be

burdened by having to attack the validity of the arbitral award in two forums,” particularly where

the foreign court (and not the U.S. court) exercises primary jurisdiction. Masdar Solar, 397 F.

Supp. 3d at 40; Unión Fenosa Gas, 2020 U.S. Dist. LEXIS 98645, at *12 (same); see also

Novenergia II, 2020 U.S. Dist. LEXIS 12794, at *10 (“Balancing the hardships to each party also

favors a stay. Litigating the validity of arbitral awards in two forums would burden Spain . . . .”);

Gretton, 2019 U.S. Dist. LEXIS 18990, at *19 (noting “the unfairness to Uzbekistan of having to

defend itself simultaneously in two fora”); Getma, 142 F. Supp. 3d at 118 (“Moreover, as

explained above, a premature confirmation and enforcement of the award would essentially

eviscerate [the respondent’s] bargained-for right to have the arbitral award reviewed by [the

courts of the primary jurisdiction].”).

       Third, another court in this Circuit has noted that the current “uncertainties regarding

[the] unprecedented global pandemic” likewise weigh in favor of staying litigation against

foreign sovereign States pending the resolution of the annulment proceeding. Unión Fenosa

Gas, 2020 U.S. Dist. LEXIS 98645, at *12–13. In that case, it was noted that the COVID-19

crisis has created “immense uncertainty” for the world economy, thus necessitating caution in




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multibillion-dollar litigation against foreign sovereign States. Id. As the Russian Government

has reported last week, “493,657 coronavirus cases have been confirmed in Russia,” which is the

third-highest total of any country worldwide. See Russia is in 7th place as to COVID-19

pandemic      intensity,    TASS         Russian        News   Agency      (June     10,     2020),

https://tass.com/world/1166507. Notably, the District of Columbia is also facing significant

burdens during this time of uncertainty. See Standing Order No. 20-29, May 26, 2020 (Howell,

C.J.) (describing “the seriousness of the pandemic in this region as of this date” based on order

of the Mayor of the District of Columbia). Under the circumstances, the global pandemic also

weighs heavily in favor of staying this parallel litigation to conserve resources while the

annulment litigation is concluded in the Netherlands.

       Fourth, as similarly situated litigants often do, Petitioners can be expected to assert a

purported “interest in expeditiously collecting an award.” Masdar Solar, 397 F. Supp. 3d at 40.

When balanced against the other relevant factors and hardships, however, other courts in this

Circuit have attributed little weight to this element, id., particularly because post-award interest

can easily compensate for delay. Accordingly, “[f]ar from being at odds with the nature of

arbitration confirmation proceedings, adjournments pending the completion of set-aside

proceedings are an integral part of such proceedings.” Novenergia II, 2020 U.S. Dist. LEXIS

12794, at *8 (quoting CPConstruction Pioneers, 578 F. Supp. 2d at 54). Indeed, during the

arbitration proceedings, Petitioners were advised by experienced arbitration counsel who fully

understood this aspect of arbitration.

       Most recently, this Court addressed this issue comprehensively in Novenergia II, where it

concluded as follows:

       The court acknowledges that this dispute has dragged on for over four years and a
       ruling in the Swedish court may not be imminent. The parties anticipated a



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       decision sometime in 2019 and a referral to the EU Court of Justice could extend
       the proceedings into 2021 or 2022. . . . [Petitioner] argues that the delay from the
       Swedish proceedings weighs heavily against a stay . . . . However, the length of
       delay is not the only consideration here. . . . [Moreover,] if Novenergia ultimately
       prevails it will be compensated for any delay because the award includes interest.
       . . . Thus, the hardship to Spain, which could be significant, outweighs the
       hardship to Novenergia.

2020 U.S. Dist. LEXIS 12794, at *9–11.

Following the same reasoning, therefore, this Court must conclude that the balance of hardships

weighs in favor of extending the Stay Ruling.

       The Europcar Factors Also Continue to Weigh in Favor of the Stay

       Article VI of the New York Convention provides that a court “may, if it considers it

proper, adjourn the decision on the enforcement of the award” in situations where “an

application for the setting aside or suspension of the award has been made to a competent

authority referred to in article V(1)(e).” New York Convention, Art. VI. In deciding whether to

issue a stay of enforcement under Article VI, this Court usually weighs the factors outlined in the

Second Circuit’s decision in Europcar, 156 F.3d at 317–18. E.g., Stati, 199 F. Supp. 3d at 192.

       In Europcar, the Second Circuit identified the following non-exhaustive list of factors for

consideration when evaluating whether to stay proceedings under the New York Convention:

       (1) the general objectives of arbitration—the expeditious resolution of disputes
       and the avoidance of protracted and expensive litigation;

       (2) the status of the foreign proceedings and the estimated time for those
       proceedings to be resolved;

       (3) whether the award sought to be enforced will receive greater scrutiny in the
       foreign proceedings under a less deferential standard of review;

       (4) the characteristics of the foreign proceedings including (i) whether they were
       brought to enforce an award (which would tend to weigh in favor of a stay) or to
       set the award aside (which would tend to weigh in favor of enforcement); (ii)
       whether they were initiated before the underlying enforcement proceeding so as to
       raise concerns of international comity; (iii) whether they were initiated by the
       party now seeking to enforce the award in federal court; and (iv) whether they


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         were initiated under circumstances indicating an intent to hinder or delay
         resolution of the dispute;

         (5) a balance of the possible hardships to the parties . . .; and

         (6) any other circumstance that could tend to shift the balance in favor of or
         against adjournment . . .

Europcar, 156 F.3d at 317–18.

         As noted in Novenergia II, there is significant overlap between the “inherent authority”

analysis under Landis and “[t]he first and fifth Europcar factors,” because both frameworks

entail consideration of “judicial economy and balanc[ing] hardships between the parties.”

Novenergia II, 2020 U.S. Dist. LEXIS 12794, at *12. Accordingly, the first and fifth Europcar

factors have already been addressed in Part I, supra. To summarize, much as in the Novenergia

II case, “while a stay here will delay the resolution, it promotes judicial economy, and the

balance of the hardships favors [the Russian Federation].” See id.

         The remaining analysis, therefore, must focus on the unique issues raised by the second,

third, and fourth Europcar factors. As detailed below, these factors also weigh in favor of

staying Petitioners’ U.S. lawsuit until the completion of the Dutch proceedings.

         The Second Europcar Factor – Estimated Time to Resolution. Considering the full

context of this dispute, the second Europcar factor weighs in favor of a stay. This is because the

cassation proceedings before the Dutch Supreme Court represent the final phase of the Dutch

proceedings. Even if the Dutch Supreme Court issues an interim decision referring questions to

the EU Court of Justice for a preliminary ruling, it will ultimately be the Dutch Supreme Court

that decides Case No. 20/01595. Meijer Decl. ¶ 20; Forwood Decl. ¶¶ 32–33. Accordingly,

because the Dutch proceedings are necessarily closer to finishing now than in 2016, a stay during

this phase of the proceeding is necessarily even more justified than during the previous appellate

phase.


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       Notably, in the Stati litigation, this Court did not distinguish between the appellate

litigation before the Swedish appellate court and the cassation proceedings before the Swedish

Supreme Court. Min. Order Aug. 15, 2017, Stati v. Republic of Kaz. (D.D.C. 2016) (No. 1:14-

cv-01638).      To the contrary, after originally imposing a stay during the Swedish courts’

intermediate appeal, this Court simply extended the original stay ruling during the Swedish

cassation proceeding in a short minute order:

       Petitioners’ motion to lift the stay is denied, largely for the reasons set forth in the
       Court's August 5, 2016 memorandum opinion. While the Court recognizes
       petitioners' frustration with the continued delay of these proceedings, the Court
       finds, in an exercise of its discretion, that the Europcar factors favor a continued
       stay until the Swedish Supreme Court proceedings have concluded. . . . [T]he
       parties shall notify the Court within a week of any ruling by the Swedish Supreme
       Court . . . .

Min. Order Aug. 15, 2017, Stati v. Republic of Kaz. (No. 1:14-cv-01638).

This same approach would be appropriate in the present case. Indeed, as this Court explained in

Novenergia II, even if “a ruling . . . may not be imminent,” it is important to recognize that “the

length of delay is not the only consideration here.” Novenergia II, 2020 U.S. Dist. LEXIS

12794, at *9.

       The Third Europcar Factor – Scrutiny of the Awards in the Foreign Proceedings.

This third factor “is at least neutral if it does not favor the stay.” Stati, 199 F. Supp. 3d at 192.

This is because, as explained by Professor van den Berg, both the Dutch arbitration law and the

New York Convention require application of the same de novo standard of review with respect to

whether the parties agreed to arbitrate. Van den Berg Decl. ¶¶ 7, 18.

       The Fourth Europcar Factor – Characteristics of the Foreign Proceeding. Finally,

the fourth factor also weighs in favor of a stay because the Russian Federation initiated the Dutch

annulment proceeding in 2014, which was “before the underlying enforcement proceeding”

under the New York Convention was commenced in this Court. Europcar, 156 F.3d at 317–18.


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Even more fundamentally, as this Court explained in Gretton, the essential purpose of the fourth

Europcar factor is to ensure that unsuccessful parties in arbitration do not attempt to cause

“frivolous delay” in the enforcement proceedings by initiating meritless set-aside proceedings.

Gretton, 2019 U.S. Dist. LEXIS 18990, at *14; see also InterDigital Communs., 166 F. Supp. 3d

at 473 (finding that the fourth Europcar weighed in favor of a stay because there was “no

evidence that . . . [the] Annulment Action [wa]s intended to hinder or delay resolution, is

frivolous, or is an abusive tactic by [the respondent] to forestall the resolution” of the New York

Convention litigation).

       In the present case, the Dutch district court’s 2016 decision and the French appellate

court’s 2017 decision both have amply demonstrated that the Russian Federation’s arguments are

neither frivolous nor abusive. Van den Berg Decl. ¶¶ 19, 33; Forwood Decl. ¶¶ 16–18. To the

contrary, these arguments reflect the Russian Federation’s consistent position since 2005 that the

arbitrators lacked jurisdiction because the Russian Federation was not a Contracting Party and

never agreed to arbitrate with Petitioners under the ECT’s Article 26. Van den Berg Decl.

¶¶ 11–12, 19.

       Indeed, as further explained in the Cassation Petition, the merit of the Russian

Federation’s objections is reflected in the fact that even the Dutch appellate court did not agree

with the arbitrators regarding the interpretation of Article 45(1) of the Energy Charter Treaty.

Van den Berg Decl. ¶ 41. To the contrary, the Dutch appellate court explicitly rejected the

arbitrators’ approach, and adopted a new argument that was never raised by Petitioners during

the ten-year arbitration (in contravention of Dutch law). Van den Berg Decl. ¶ 41. The Russian

Federation’s “consistent argument regarding jurisdiction in fact weighs in favor of a stay.”

Novenergia II, 2020 U.S. Dist. LEXIS 12794, at *8.




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                                        *       *      *

       Accordingly, whether this case is evaluated under Landis, 299 U.S. at 254, or Europcar,

156 F.3d at 317, this Court should extend the Stay Ruling based on efficiency, international

comity, and the balance of hardships.

                                        CONCLUSION

       For the reasons stated above, the Russian Federation respectfully requests that the Court

extend the stay of this U.S. litigation pending resolution of the set-aside proceedings before the

Dutch Supreme Court in Case No. 20/01595.

Date: June 15, 2019                              Respectfully submitted,



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